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                         UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
   _______________________________________________________________________

    UNITED STATES OF AMERICA,
                                                        Criminal No. 07-174 (1) (JRT/JJG)
                                       Plaintiff,           Civil No. 10-1803 (JRT)

    v.
                                                                    ORDER
    ANTWOYN TERRELL SPENCER,

                            Defendant.
   _______________________________________________________________________


         Jeffrey Paulsen, Assistant United States Attorney, OFFICE OF THE
         UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
         Minneapolis, MN 55415, for plaintiff.

         Antwoyn Terrell Spencer, #14781-041, FCI- Greenville, Post Office Box
         5000, Greenville, IL 62246, pro se defendant.


         Defendant has filed a motion to vacate, set aside or correct the sentence pursuant

to 28 U.S.C. § 2255 [Docket No. 338]. Defendant has also filed a separate motion asking

the Court to order the Government to answer to the motion to vacate.

         IT IS HEREBY ORDERED that the government shall respond to the motion to

vacate by June 1, 2010. Defendant’s motion ordering the Government to respond [Docket

No. 339] is DENIED AS MOOT.


DATED: May 10, 2010
at Minneapolis, Minnesota.                            ___ s/ John R. Tunheim ______
                                                         JOHN R. TUNHEIM
                                                       United States District Judge
